          Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

Lauri Valjakka

        Plaintiff,
                                                     Civil Action No. 21-cv-00945
v.
                                                     The Honorable ______________
(1) Amazon.com, Inc.;
(2) Amazon Web Services, Inc.; and                   JURY TRIAL DEMANDED
(3) Amazon.com Services, Inc.

        Defendant


                       COMPLAINT FOR PATENT INFRINGEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff Lauri Valjakka (“Lauri” or “Plaintiff”), files this Complaint for Patent

Infringement against Amazon.com, Inc.; Amazon Web Services, Inc.; and Amazon.com Services,

Inc., and would respectfully show the Court as follows:

                                            PARTIES

     1. This is a claim for patent infringement arising under the patent laws of the United States,

Title 35 of the United States Code.

                                            PARTIES

     2. Plaintiff is a citizen of Finland having an address located at Valtakatu 51, Vapaudenaukio

Technopolis 2, 53100 Lappeenranta, Finland.

     3. On information and belief, Defendant Amazon.com, Inc. (“AI”) is a Delaware corporation

with a principal address of 410 Terry Avenue North, Seattle, Washington, 98109, and has regular

and established places of business throughout this District, including at least at 11501 Alterra

Pkwy, Austin, TX, 78758.

                                                 1
          Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 2 of 10




   4. On information and belief, Defendant Amazon Web Services, Inc. (“AWSI”) is a Delaware

corporation with a principal address of 410 Terry Avenue North, Seattle, Washington, 98109.

Amazon Web Services, Inc. is a subsidiary of Amazon.com, Inc. Defendant is registered to do

business in Texas and has may be served via its registered agent at Corporation Service Company,

located at 211 E. 7th Street Suite 620 Austin, TX 78701.

   5. On information and belief, Defendant Amazon.com Services, Inc. (“ASI”) is a Delaware

corporation with a principal address of 410 Terry Avenue North, Seattle, Washington, 98109.

Amazon Web Services, Inc. is a subsidiary of Amazon.com, Inc. Defendant is registered to do

business in Texas and has may be served via its registered agent at Corporation Service Company,

located at 211 E. 7th Street Suite 620 Austin, TX 78701.

   6. Defendants AI, ASI, and AWSI are each individually liable and are jointly and severally

liable for infringement of the patent in suit. Under theories of alter ego, single business enterprise

liability, and agency, the conduct of each can be attributed to and considered the conduct of the

others for purposes of infringement of the Patents-in-Suit. AI, ASI, and AWSI have in the past and

continue to hold themselves out as a single entity – “Amazon” – acting in concert, with knowledge

of each other’s actions and control over each other.

   7. Defendants AI, ASI, and AWSI are hereinafter collectively referred to as “Defendant” or

“Amazon.”

   8. On information and belief, Defendant directly and/or indirectly develops, designs,

manufactures, distributes, markets, offers to sell and/or sells infringing products and services in

the United States, including in the Western District of Texas, and otherwise directs infringing

activities to this District in connection with its products and services.




                                                  2
          Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 3 of 10




                                          JURISDICTION

    9. This civil action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq.,

including without limitation 35 U.S.C. §§ 271, 281, 283, 284, and 285 based on Defendant's

unauthorized commercial manufacture, use, importation, offer for sale, and sale of the Accused

Products in the United States. This is a patent infringement lawsuit over which this Court has

subject matter jurisdiction under, inter alia, 28 U.S.C. §§ 1331, 1332, and 1338(a).

    10. This United States District Court for the Western District of Texas has general and specific

personal jurisdiction over Defendant because, directly or through intermediaries, Defendant has

committed acts within the District giving rise to this action and are present in and transact and

conduct business in and with residents of this District and the State of Texas.

    11. Plaintiff’s causes of action arise, at least in part, from Defendant’s contacts with and

activities in this District and the State of Texas.

    12. Defendant has committed acts of infringing the patent-in-suit within this District and the

State of Texas by making, using, selling, offering for sale, and/or importing in or into this District

and elsewhere in the State of Texas, products claimed by the patent-in-suit, including without

limitation products made by practicing the claimed methods of the patent-in-suit. Defendant,

directly and through intermediaries, makes, uses, sells, offers for sale, imports, ships, distributes,

advertises, promotes, and/or otherwise commercializes such infringing products into this District

and the State of Texas. Defendant regularly conducts and solicits business in, engages in other

persistent courses of conduct in, and/or derives substantial revenue from goods and services

provided to residents of this District and the State of Texas.

        13.     This Court has personal jurisdiction over Defendant pursuant to TEX. CIV. PRAC. &

REM. CODE § 17.041 et seq. Personal jurisdiction exists over Defendant because Defendant has



                                                      3
          Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 4 of 10




minimum contacts with this forum as a result of business regularly conducted within the State of

Texas and within this district, and, on information and belief, specifically as a result of, at least,

committing the tort of patent infringement within Texas and this District. This Court has personal

jurisdiction over Defendant, in part, because Defendant does continuous and systematic business

in this District, including by providing infringing products and services to the residents of the

Western District of Texas that Defendant knew would be used within this District, and by soliciting

business from the residents of the Western District of Texas. For example, Defendant is subject to

personal jurisdiction in this Court because, inter alia, Defendant has regular and established places

of business throughout this District, including at least at 11501 Alterra Pkwy, Austin, TX, 78758,

and directly and through agents regularly does, solicits, and transacts business in the Western

District of Texas. Also, Defendant has hired and is hiring within this District for positions that, on

information and belief, relate to infringement of the patent-in-suit. Accordingly, this Court’s

jurisdiction over the Defendant comports with the constitutional standards of fair play and

substantial justice and arises directly from the Defendant’s purposeful minimum contacts with the

State of Texas.

        14.       This Court also has personal jurisdiction over Defendant, because in addition to

Defendant’s own online website and advertising with this District, Defendant has also made its

products available within this judicial district and advertised to residents within the District to hire

employees to be located in this District.

        15.       The amount in controversy exceeds $75,000 exclusive of interests and costs.

        16.       Venue is proper in this Court under 28 U.S.C. § 1400(b) based on information set

forth herein, which is hereby repeated and incorporated by reference. Further, upon information

and belief, Defendant has committed or induced acts of infringement, and/or advertise, market,



                                                   4
          Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 5 of 10




sell, and/or offer to sell products, including infringing products, in this District. In addition, and

without limitation, Defendant has regular and established places of business throughout this

District, including at least at 11501 Alterra Pkwy, Austin, TX, 78758.

                                           THE PATENT-IN-SUIT

        17.     On July 23, 2013, United States Patent No. 8,495,167 (“the ‘167 Patent”), entitled

“Data Communications Networks, Systems, Methods and Apparatus” was duly and legally issued

by the United States Patent and Trademark Office (“USPTO”). The ‘167 Patent claims patent-

eligible subject matter and is valid and enforceable. Lauri is the exclusive owner by assignment

of all rights, title, and interest in the ‘167 Patent, including the right to bring this suit for injunctive

relief and damages, and including the right to sue and recover all past, present, and future damages

for infringement of the ‘167 Patent. Defendant is not licensed to the ‘167 Patent, either expressly

or implicitly, nor do they enjoy or benefit from any rights in or to the ‘167 patent whatsoever. A

true and correct copy of the ‘167 patent is attached hereto as Exhibit A.

        18.     The ‘167 patent is referred to herein as the “patent-in-suit.”

        19.     Plaintiff Lauri is the owner of the entire right, title, and interest in and to the patent-

in-suit. The patent-in-suit is presumed valid under 35 U.S.C. § 282.

                                ACCUSED INSTRUMENTALITIES

        20.     The term “Accused Instrumentalities” or “Accused Products” refers to, by way of

example and without limitation, Amazon’s CloudFront content delivery network.

                                          COUNT I
                           PATENT INFRINGEMENT OF THE ‘167 PATENT

        21.     Plaintiff restates and realleges the preceding paragraphs of this Complaint as if fully

set forth herein.




                                                     5
          Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 6 of 10




        22.     Defendant has, under 35 U.S.C. §271(a), directly infringed, and continues to

directly infringe, literally and/or under the doctrine of equivalents, one or more claims, including

without limitation at least claim 1 of the ‘167 Patent, by making, using, testing, selling, offering

for sale and/or importing into the United States Defendant’s Accused Products.

        23.     Defendant also indirectly infringes the ‘167 Patent by actively inducing the direct

infringement by third parties under 35 U.S.C. § 271(b). Defendant has knowingly and intentionally

actively aided, abetted and induced others to directly infringe at least one claim of the ‘167 Patent

(such as its customers in this District and throughout the United States). Defendant continues to

induce infringement of the ‘167 Patent. Defendant has contributorily infringed and is a

contributory infringer because, with knowledge of the ‘167 Patent, it supplies a material part of an

infringing method and/or system, where the material part is not a staple article of commerce, and

is incapable of substantial noninfringing use. Defendant contributes to its customers’ infringement

because, with knowledge of the ‘167 Patent, Defendant supplies the technology that allows its

customers to infringe the patent.

        24.     Defendant has knowledge that its activities concerning the Accused Products

infringe one or more claims of the ‘167 Patent. On information and belief, Defendant will continue

to encourage, aid, or otherwise cause third parties to import, sell, offer for sale, and use the Accused

Products (which are acts of direct infringement of the ‘167 Patent) and Defendant has and will

continue to encourage those acts with the specific intent to infringe one or more claims of the ‘167

Patent. Further, Defendant provides information and technical support to its customers, including

product manuals, brochures, videos, demonstrations, and website materials encouraging its

customers to purchase and instructing them to use Defendant’s Accused Products (which are acts

of direct infringement of the ‘167 Patent). Alternatively, Defendant knows and/or will know that



                                                   6
            Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 7 of 10




there is a high probability that the importation, sale, offer for sale, and use of the Accused Products

constitutes direct infringement of the ‘167 Patent but took deliberate actions to avoid learning of

these facts.

        25.     On information and belief, Defendant’s infringement of the ‘167 Patent has been

willful and merits increased damages.

        26.     On information and belief, Defendant has known that its activities concerning the

Accused Products infringed one or more claims of the ‘167 patent since at least 2013.

        27.     On information and belief, Defendant has made no attempt to design around the

claims of the ‘167 Patent.

        28.     On information and belief, Defendant did not have a reasonable basis for believing

that the claims of the ‘167Ppatent were invalid.

        29.     On information and belief, Defendant’s Accused Products are available to

businesses and individuals throughout the United States and in the State of Texas, including in this

District.

        30.     Lauri has been damaged as the result of Defendant’s willful infringement. Upon

information and belief, Defendant will continue to infringe one or more claims of the ‘167 Patent

unless and until they are enjoined by this Court.

        31.     Defendant has caused and will continue to cause Lauri irreparable injury and

damage by infringing one or more claims of the ‘167 Patent. Lauri will suffer further irreparable

injury, for which it has no adequate remedy at law, unless and until Defendant is enjoined from

infringing the claims of the ‘167 Patent.

        32.     The claim chart attached hereto as Exhibit B describes how the elements of an

exemplary claim 1 from the ‘167 Patent are infringed by the Accused Products. This provides



                                                    7
            Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 8 of 10




details regarding only one example of Defendant’s infringement, and only as to a single patent

claim. Plaintiff reserves its right to amend and fully provide its infringement arguments and

evidence thereof until its Preliminary and Final Infringement Contentions are later produced

according to the court’s scheduling order in this case.

                                         PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Lauri respectfully requests the following relief:

       A.       A judgment that Defendant has directly infringed either literally and/or under the

doctrine of equivalents and continue to directly infringe the patent-in-suit;

       B.       A judgment that Defendant has induced infringement and continues to induce

infringement of the patent-in-suit;

       C.       A judgment that Defendant has contributorily infringed and continues to

contributorily infringe the patent-in-suit;

       D.       A judgment and order requiring Defendant to pay Plaintiff damages under 35

U.S.C. § 284 including past damages based on, inter alia, any necessary compliance with 35

U.S.C. §287, treble damages for willful infringement as provided by 35 U.S.C. § 284, and

supplemental damages for any continuing post-verdict infringement through entry of the final

judgment with an accounting as needed;

       E.       A judgment that this is an exceptional case within the meaning of 35 U.S.C. § 285

and Plaintiff is therefore entitled to reasonable attorneys’ fees;

       F.       A judgment and order requiring Defendant to pay Plaintiff pre-judgment and post-

judgment interest on the damages awarded;

       G.       A judgment and order awarding a compulsory ongoing royalty;

       H.       A judgment and order awarding Plaintiff costs associated with bringing this action;


                                                   8
             Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 9 of 10




        I.       A judgment granting a preliminary and permanent injunction that restrains and

enjoins Defendant, its officers, directors, divisions, employees, agents, servants, parents,

subsidiaries, successors, assigns, and all those in privity, concert or participation with them from

directly or indirectly infringing the patent-in-suit; and

        J.       Such other and further relief as the Court deems just and equitable.

                                       JURY TRIAL DEMANDED

        Pursuant to FED. R. CIV. P. 38, Plaintiff Lauri hereby demands a trial by jury on all issues

so triable.




                                                   9
        Case 6:21-cv-00945-ADA Document 1 Filed 09/10/21 Page 10 of 10




Dated: September 10, 2021                   Respectfully submitted,

                                            By: /s/ Erick S. Robinson

                                            Erick S. Robinson
                                            Texas Bar No. 24039142
                                            Porter Hedges LLP
                                            1000 Main St., 36th Floor
                                            Houston, TX 77002
                                            Telephone: (713) 226-6615
                                            Mobile: (713) 498-6047
                                            Fax: (713) 583-9737
                                            erobinson@porterhedges.com

                                            Attorneys for Lauri Valjakka




                                      10
